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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                          §
    In re:                                §                              Chapter 11
                                          §
    AGILON ENERGY HOLDINGS II LLC, et al. §                              Case No. 21-32156
                                          §
                Debtors.1                 §                              (Joint Administration Requested)
                                          §                              (Emergency Hearing Requested)

                              NOTICE OF DESIGNATION AS COMPLEX
                                CHAPTER 11 BANKRUPTCY CASE

          On June 27, 2021 (the “Petition Date”), the above captioned debtors and debtors in

possession (collectively, the “Debtors”) filed voluntary petitions for relief under title 11 of the

Unites States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

Southern District of Texas. The undersigned proposed counsel believes that these chapter 11 cases

qualify as complex chapter 11 cases because:

          1. The Debtors have total debt of more than $10 million.

          2. There are more than 50 parties in interest in this case.

          The Debtors respectfully request that the Court enter the order, granting the relief requested

herein and such other relief as the Court deems appropriate under the circumstances.




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    The debtors and debtors in possession these chapter 11 cases (the “Bankruptcy Case(s)”), along with the last four
    digits of their respective Employer Identification Numbers, are as follows: Agilon Energy Holdings II LLC (3389)
    (“Agilon”); Victoria Port Power LLC (4894) (“VPP”); and Victoria City Power LLC (4169) (“VCP” and together
    with Agilon and CPP, the “Debtors”). The Debtors’ mailing address is: 5850 San Felipe, Ste 601, Houston, Texas
    77057.

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Dated: June 27, 2021                     Respectfully submitted,


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